Case 2:19-cv-00434 Document 38-5 Filed 03/15/21 Page 1 of 3 PageID #: 272




             General Health and Safety Agreement for Residents


                             is a temporary, emergency shelter for victims of domestic
and sexual violence and their children. Because we come from all walks of life and
share this space tooether
                    0     '
                            we want each resident to feel comfortable, safe and at ease in
our shelter. Community living is not for everyone.          will not allow abusive
behavior to be exhibited by anyone toward anyone at any time. In community living
environments, what we do and don't do, can have a significant impact on others. We
ask that each of our residents staff and volunteers treat each other with the utmost
respect at all times.
                               '

This Agreement is the culmination of federal, state and county regulations and
requirements we are required to operate under and was created for your safety, health,
privacy, and the welfare of yow- children while staying with us.

   1. Weapons are strictly prohibited at our shelter.

   2. Illegal Drugs and Alcohol are strictly prohibited at our shelter.

   3. By order of the           County Health Department, smoking is not allowed inside
      of the shelter. Shelter residents are welcome to smoke outside the shelter in the
      designated smoking area on the back patio next to the kitchen.

   4. By order of the            County Health Department, animals are not allowed
      inside the shelter. If a family pet needs to be accommodated,       staff will try
      to make accommodations for the pet during your stay at the shelter. Service
      animals are exempt from the Health Department order on animals.

   5. For the safety of all residents and      staff, oniy      staff and volunteers may
      answer the telephone or the door.

   6. The confidentiality of all residents is critical to their safety. Breaches of
      confidentiality could jeopardize the safety of all residents of the shelter as well as
            staff and volunteers. We ask that all residents maintain the confidentiality
      of every resident staying at our shelter as well as the reasons for their stay at our
      shelter.




Revised November 16, 2020


                                                                     Program A Decl., Ex. 4
Case 2:19-cv-00434 Document 38-5 Filed 03/15/21 Page 2 of 3 PageID #: 273




 General Health and Safety Agreement for Residents
 Page 2


   7. For the safety of all residents, children and  staff and volunteers,
      strongly discourages phone and other contact with your abuser while staying at
      the shelter.


   8. To protect resident confidentiality, visitors are not permitted on the residential
      side of the shelter. If you plan to have a visitor come to the shelter, please advise
      our staff at least 24 hours in advance to allow time to provide a space for your
      visit.

   9. To protect resident and        staff and volunteer confidentiality as well as to
      protect the safety of residents,       staff and volunteers, pictures and/or videos
      taken with cell phones, cameras and laptop computers with webcam capabilities
      are prohibited.

   10. We work hard to keep our shelter clean and comfortable at all times for residents
       both now and in the future. Damage to or theft of     property by shelter
       residents or family members will not be tolerated.

   11. For the protection of all shelter residents,   staff and volunteers, residents
      are not permitted in the rooms of other residents at any time for any reason.

   12. No sexual activity of any kind between residents,        staff or volunteers is
      permitted in the shelter.

   13.For the protection of all shelter residents,     staff and volunteers and to
      prevent the possibility of prescription medication abuses or accidental overdoses,
      residents may only take prescription medication as specifically prescribed by their
      doctors while staying at the sh_elter. Attempts to take more prescription
      medication than prescribed or attempts to use illegal drugs or alcohol while
      staying at the shelter will not be tolerated.


                              looks forward to being able to provide advocacy and other
supportive services to you.


RevisedNovember 16, 2020


                                                                    Program A Decl., Ex. 4
Case 2:19-cv-00434 Document 38-5 Filed 03/15/21 Page 3 of 3 PageID #: 274




 General Health and Safety Agreement for Residents
 Page 3


 By signing below, I acknowledge that this Agreement has been explained to me. I also
 acknowledge I have read and understand the terms outlined in this Agreement. I agree
 to abide by the terms of this Agreement during my stay with

 I am also certifying that I have been given a copy of the Agreement as signed by me.




 Resident Signature




        Staff Signature




 Date




 Revised November 16, 2020

                                                                      •
                                                                  Program A Decl., Ex. 4
